    23-03004-cgb Doc#139-21 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 21. Bank
EXHIBIT 21 - CHASE BANK STATEMENT Statement Pg 1 of 4
FOR PDG (4.30.22-5.31.22)




               CHASEO                                                                           April 30, 2022 through May 31, 2022
               JPMorgan Chase Bank, N.A.
               P 0 Box 182051                                                             Account Number:
               Columbus, OH 43218 ~ 2051

                                                                                       CUSTOMER SERVICE INFORMATION
                                                                                       Web site:                www.Chase.com
                                                                                       Service Center:           1-877-425-8100
              00008911 DRE 20121015422 NNNNNNNNNNN    1 000000000 D2 0000              Deaf and Hard of Hearing: 1-800-242-7383
              PDG PRESTIGE, INC                                                        Para Espanol:             1-888-622-4273
              154 N FESTIVAL DR STE D                                                  International Calls:      1-713-262-1679
              EL PASO TX 79912-6265




         On June 12, 2022, fees for non-Chase ATM transactions are changing
         We're making the following fee changes and, depending on the type of account you have with us, you may be affected:

                  Non-Chase ATM transactions fee' (Domestic Withdrawal, Domestic & International Balance Inquiry,
                  Domestic & International Balance Transfers): This fee will increase from S2.50 to $3.00, but you can still avoid it
                  by using Chase ATMs. The International Withdrawal Fee for ATMs outside the U.S., Puerto Rico and the U.S.
                  Virgin Islands remains $5.00 per withdrawal. We'll continue to waive these fees for customers receiving Chase
                  Military Banking benefits on their Chase Business Complete Checking 5 " accounts.

         Please note: We'll continue to waive these fees for Chase Performance Business Checking® and Chase Platinum Business
         Checking 8 M accounts.

          For more information about banking fees, please read the Additional Banking Services and Fees for Business Accounts
          Deposit Account Agreement, which you can find at chase.com/business-deposit-disclosures, or visit a branch.

          If you have any questions, please call the number on this statement. We accept operator relay calls.

           Fees from the ATM owner/networks may still apply

                                                   Chase Platinum Business Checking

                                                       INSTANCES                      AMOUNT
          Beginning Balance                                                         $1,698.19
          Deposits and Additions                                 4               1,967,858.82
          Checks Paid                                                              -22,500.00
          ATM & Debit Card Withdrawals                         19                   -5,144.26
          Electronic Withdrawals                               10
          Ending Balance                                       34


         Your Chase Platinum Business Checking account provides:
             No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
             500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
             $25,000 in cash deposits per statement cycle
             Unlimited return deposited items with no fee

         There are additional fee waivers and benefits associated with your account - please refer to your Deposit Account
         Agreement for more information.




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                              Statement Pg 2 of 4




            CHASEO                                                                       Aprll 30, 2022 through May 31, 2022
                                                                                     Account Number:




                                                                                                                                AMOUNT




                  Finance Authorilas Cruces NM 88005-0000 Ref: Chase Nyc/Ctr/Bnf=Pdg Prestige,
                  Paso TX 79912-6265 US/Ac-000000 003963 Rfb=O/B Citz Las Cru Obi=Pro Ceeds of Sale
                  510 South Telshor Blv D. Bubba's Southwestern Abst. 57 5- lmad: 05310mgft005001876
                  Trn: 0968290151 Ff
    Total Deposits and Additions                                                                                    $1,967,858.82




                                                                                                       DATE
    CHECK NO.            DESCRIPTION                                                                   PAID                     AMOUNT
            ~



    Total Checks Paid                                                                                                    $22,500.00
    If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
    not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
    ~An image of this check may be available for you to view on Chase.com.




     DATE       DESCRIPTION                                                                                                     AMOUNT




    Total ATM & Debit Card Withdrawals                                                                                     $5,144.26




    Michael Joseph Dixson Card 0583
                              Total ATM Withdrawals & Debits                                                                  $0.00
                              Total Card Purchases                                                                        S5,144.26
                              Total Card Deposits & Credits                                                                   $0.00


                                                                                                                  Page 2 of 4




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                              Statement Pg 3 of 4




            CHASEO                                                                     Aprll 30, 2022 through May 31, 2022
                                                                                    Account Number:



    ATM & Debit Card Totals
                              Total ATM Withdrawals & Debits                                                                $0.00
                              Total Card Purchases                                                                      S5,144.26
                              Total Card Deposits & Credits                                                                 $0.00




     DATE    DESCRIPTION                                                                                                       AMOUNT
    05103    Orig CO Name:Wf Home Mtg       Orig ID:1562287461 Desc Date:043022 CO Entry                                 $3,778.46
             Descr:Auto Pay Sec:Web Trace#:091000019481919 Eed:220503 Ind ID:0515706083
             Ind Name:Michael J Dixson
                                                                                                                               684.40
             Descr:Webpaymentsec:Web
             Ind Name:Prestige Development G
    05/19    Orig CO Name:Texas Sdu           Orig ID:1581115569 Desc Date:220519 CO Entry                                    9,999.00
             Descr:Childsupp Sec:Web Trace#:111000024170581 Eed:220519 Ind ID:221380002567308
             Ind                     Trn: 1394170581Tc

                                                                                                                          5,000.00




             Insurance Agency of Texas Inc Austin TX 78731      Ref: Gf No: 14664-22-06369 The Dixson
             Family Trust 6 Candleleaf CT/Bnf/6 CA Ndleleaf CT The Hills TX Imad: 053161 Qgc08C044783
             Trn: 3757782151 Es
    Total Electronic Withdrawals                                                                                     $554,974.40




    DATE                       AMOUNT            DATE                     AMOUNT                DATE                            AMOUNT

    05/02                      $257.25          05/19                   37,052.06            05/25                            23,341.99
    05/03                       446.29          05/20                   30,929.74            05/26                            23,000.99
    05/05                       435.46          05/23                   26,573.40            05127                            22,191.33
    05/09                        51.06          05/24                   26,563.99            05/31                     1,386,938.35
    05/17                   47,051 06




    Monthly Service Fee                                               $0.00
    Other Service Charges
    Total Service Charges

    As an added benefit of your Chase Private Client Checking account, you can avoid a monthly service fee on your
    Chase Platinum Business Checking account in the future by maintaining an average ledger balance of $50,000.00 or
    more in business deposits and investments.

    See your Account Rules and Regulations or stop in to see a banker today to find out more.




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            CHASEO                                                                                       Aprll 30, 2022 through May 31, 2022
                                                                                                    Account Number:




    IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564·2262 or write us a11he
    address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
    incorrect or if you need more information about a transfer listed on the statement or receipt
    For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
    appeared. Be prepared to give us the follow!ng Information:
                    Your name and account number
                    The dollar.amount of the suspected error
    We will 1~vest~~t~ ~~i~~ ~~~~f~i~t ~~ J ~i1fr~;r~~~t Ya~~ ~rr~o~~~~~P~iy ~r(Je ~a~= ~~~~\~a~n1 irb~~i~~~sh~X~~ (~~~i b~!in~n1~.rcfu~~ t~r ne~
                      8     1         8   0                                     0     1                                                   0

    accounts) to do this, we will credit your account for the amount you thmk 1s in error so that you will have use ot the money durmg the time 1t takes
    us to complete our investigation.
    IN CASE OF ERRORS OR QUESTIONS ABOUT NON~ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
    incorrect or if you need mpre information abo.ut any non~electronic transactions (checks or deposits) on th.is statement. If any.sm:h error appears,
    you must notity the bank 1n writing no later than 30 days after the statement was made available to bou. For more complete details, see the
    ~~~o ur~~~~~~i~~~~~.u~~R~n~g~it~~~~~8!icable account agreement that governs your account epos1t products and seivices are offered by
        0
                                                                                                           JPMorgan Chase Bank, N.A. Member FDIC




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